            Case 23-51317-pwb                           Doc 14           Filed 02/22/23 Entered 02/22/23 20:25:06                                                     Desc Main
                                                                        Document      Page 1 of 39

 Fill in this information to identify your case:

 Debtor 1
                     David Dunsmore Anderson
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                                (State)
 Case number           23-51317-pwb
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 31,039.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 31,039.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 12,500.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 875,447.82
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 887,947.82
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 3,605.53
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 3,131.01
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
            Case 23-51317-pwb                   Doc 14          Filed 02/22/23 Entered 02/22/23 20:25:06                             Desc Main
                  David Anderson
                                                               Document      Page 2 of 39
                                                                                                                          23-51317-pwb
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                               $_____________________


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                     $_____________________



    9d. Student loans. (Copy line 6f.)                                                                      $_____________________


    9e. Obligations arising out of a separation agreement or divorce that you did not report as             $_____________________
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                     $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
             Case 23-51317-pwb                                 Doc 14              Filed 02/22/23 Entered 02/22/23 20:25:06                                                                   Desc Main
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Fill in this information to identify your case and this filing:

                     David Dunsmore Anderson
Debtor 1
                     First Name                Middle Name               Last Name

Debtor 2
(Spouse, if filing)    First Name                Middle Name                Last Name


United States Bankruptcy Court for the: Northern District of
Georgia
                                                                                                                                                                                                        Check if this is
Case number 23-51317-pwb                                                                                                                                                                                an amended
(if know)
                                                                                                                                                                                                        filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.1 2509 Lawrenceville Highway                                                 Single-family home                                                           amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
            Decatur GA              30033
                                                                                   Land                                                                         $ 0.00                              $ 0.00
            City        State       ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
            DeKalb County                                                          Other                                                                        entireties, or a life estate), if known.

            County                                                               Who has an interest in the property? Check
                                                                                 one
                                                                                      Debtor 1 only                                                                  Check if this is community property
                                                                                      Debtor 2 only
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤            $ 0.00


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes




                                                                                                                                                                                                                page 1 of 5
             Case 23-51317-pwb                                  Doc 14              Filed 02/22/23 Entered 02/22/23 20:25:06 Desc Main
Debtor 1          David Dunsmore Anderson
                 First Name          Middle Name         Last Name
                                                                                   Document      Page 4 of 39     Case number(if known) 23-51317-pwb



    3.1 Make:Ford                                                                 Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Ranger                                                                                                                                         amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2010
                                                                                       Debtor 2 only
           Approximate mileage: 72521                                                                                                                              Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another                                     $ 3,500.00
              Condition:Good;                                                                                                                                                                           $ 3,500.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

    3.2 Make:Ford                                                                 Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Edge                                                                                                                                           amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2016
                                                                                       Debtor 2 only
           Approximate mileage: 138675                                                                                                                             Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another
              Condition:Very Good;                                                                                                                                 $ 15,000.00                          $ 15,000.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                $ 18,500.00


 Part 3:        Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

          plates , silverware, blender, couch, bed, rugs, recliner chair, crib, pack and play, cups, mugs, car seat, stroller                                                                           $ 1,000.00
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

          washing machine, dryer, laptop computer, microwave, kitchenaid stand mixer, samsung tv, ouya android console,
                                                                                                                                                                                                        $ 3,000.00
          chromebook, android phone, jbl charge 5 speaker,
  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...

          cds, posters, trinkets                                                                                                                                                                        $ 100.00
  9. Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

              No
              Yes. Describe...

          accoustic guitar ny pro, electric guitar denstone , mixer, video games                                                                                                                        $ 300.00




                                                                                                                                                                                                                      page 2 of 5
            Case 23-51317-pwb                                       Doc 14               Filed 02/22/23 Entered 02/22/23 20:25:06 Desc Main
Debtor 1         David Dunsmore Anderson
                First Name            Middle Name           Last Name
                                                                                        Document      Page 5 of 39     Case number(if known) 23-51317-pwb



  10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No
             Yes. Describe...

        Glock 17, Ruger lc9, Smith and Wesson MP sport 2 AR 15 rifle, Marlin model 60, mossberg 12 guage, high point 3895 ts,
                                                                                                                                                                                                     $ 2,500.00
        Makarov 380
  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

        pants, shirts, tee shirts, hoodies, socks, underwear, coats, chef coats                                                                                                                      $ 300.00
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤            $ 7,200.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Ameris Bank                                                                                                                      $ 339.00

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........
        Name of entity:                                                                                                                                          % of ownership:
        Movie Titles Inc dba the Highlander                                                                                                                      30                 %                $ 0.00




                                                                                                                                                                                                                  page 3 of 5
            Case 23-51317-pwb                           Doc 14      Filed 02/22/23 Entered 02/22/23 20:25:06 Desc Main
Debtor 1          David Dunsmore Anderson
                First Name          Middle Name   Last Name
                                                                   Document      Page 6 of 39     Case number(if known) 23-51317-pwb



  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No
             Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

             No
             Yes. List each account separately
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

             No
             Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
             No
             Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
             No
             Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
             No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

             No
             Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
             Yes. Give specific information about them...

 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.
  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...

           2022 Estimated Tax Refund                                                                               Federal:           $ 5,000.00
                                                                                                                   State:             $ 0.00
                                                                                                                   Local:             $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....

                                                                                                                                                   page 4 of 5
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Debtor 1            David Dunsmore Anderson
                  First Name            Middle Name           Last Name
                                                                                          Document      Page 7 of 39     Case number(if known) 23-51317-pwb



  32. Any interest in property that is due you from someone who has died
               No
               Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
               No
               Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
          off claims
               No
               Yes. Give specific information....
  35. Any financial assets you did not already list
               No
               Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
       you have attached for Part 4. Write that number here...........................................................................................................................................➤             $ 5,339.00


 Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
               No. Go to Part 6.
               Yes. Go to line 38.


                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:           If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                                     $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                      $ 0.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 18,500.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 7,200.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 5,339.00
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 31,039.00                         Copy personal property total➤         +$
                                                                                                                                                                                                               31,039.00
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                        $ 31,039.00




                                                                                                                                                                                                                    page 5 of 5
           Case 23-51317-pwb                   Doc 14        Filed 02/22/23 Entered 02/22/23 20:25:06                                       Desc Main
                                                            Document      Page 8 of 39
 Fill in this information to identify your case:

                     David Dunsmore Anderson
 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                   (State)
 Case number
  (If known)
                      23-51317-pwb
                     ___________________________________________                                                                                 Check if this is an
                                                                                                                                                    amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                           4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own                           exemption you claim

                                                          Copy the value from                       Check only one box
                                                          Schedule A/B                              for each exemption
                 2010 Ford Ranger                                                                                                  Ga. Code Ann. § 44-13-100 (a)(3)
 Brief
 description:
                                                                  3,500.00
                                                                 $________________           
                                                                                             ✔ $ ____________
                                                                                                 2,000.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:        3.1
                 2016 Ford Edge                                                                                                    Ga. Code Ann. § 44-13-100 (a)(3)
 Brief
 description:
                                                                   15,000.00
                                                                 $________________            $ ____________
                                                                                              ✔  1,500.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:         3.2
                 2016 Ford Edge                                                                                                    Ga. Code Ann. § 44-13-100 (a)(6)
 Brief
 description:                                                    $________________
                                                                   15,000.00                 
                                                                                             ✔ $ ____________
                                                                                                 2,500.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:           3.2

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                              2
                                                                                                                                                          page 1 of __
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Debtor        David Dunsmore AndersonDocument
             _______________________________________________________
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                                                                               Case number (if known)_____________________________________
                First Name       Middle Name            Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                  Amount of the                       Specific laws that allow exemption
                                                                         Current value of the   exemption you claim
         on Schedule A/B that lists this property                        portion you own
                                                                        Copy the value from    Check only one box
                                                                         Schedule A/B           for each exemption
               Household Goods - plates , silverware, blender, couch,                                                                Ga. Code Ann. § 44-13-100 (a)(4)
Brief        bed, rugs, recliner chair, crib, pack and play, cups, mugs,
description: car seat, stroller
                                                                          1,000.00
                                                                         $________________         1,000.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:       6
             Electronics - washing machine, dryer, laptop computer,                                                                  Ga. Code Ann. § 44-13-100 (a)(4)
Brief        microwave, kitchenaid stand mixer, samsung tv, ouya
description: android console, chromebook, android phone, jbl charge $________________
                                                                     3,000.00                   
                                                                                                ✔ $ ____________
                                                                                                    3,000.00
             5 speaker,                                                                          100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:          7
               Collectibles Of Value - cds, posters, trinkets                                                                        Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:                                                              $________________
                                                                           100.00               
                                                                                                ✔ $ ____________
                                                                                                    100.00
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:           8
               Sports & Hobby Equipment - accoustic guitar ny pro,                                                                   Ga. Code Ann. § 44-13-100 (a)(6)
Brief          electric guitar denstone , mixer, video games
description:
                                                                           300.00
                                                                          $________________        300.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:        9
             Firearms - Glock 17, Ruger lc9, Smith and Wesson MP                                                                     Ga. Code Ann. § 44-13-100 (a)(6)
Brief        sport 2 AR 15 rifle, Marlin model 60, mossberg 12 guage, 2,500.00
description: high point 3895 ts, Makarov 380                         $________________             2,500.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         10
               Clothing - pants, shirts, tee shirts, hoodies, socks,                                                                 Ga. Code Ann. § 44-13-100 (a)(4)
Brief
description:
               underwear, coats, chef coats                                300.00
                                                                          $________________        300.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         11
               Ameris Bank (Checking Account)                                                                                        Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:
                                                                           339.00
                                                                          $________________        339.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:        17.1
               2022 Estimated Tax Refund (owed to debtor)                                                                            Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:                                                              $________________
                                                                           5,000.00             
                                                                                                ✔ $ ____________
                                                                                                    5,000.00
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:           28

Brief
description:                                                              $________________      $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________      $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________      $ ____________
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                              $________________      $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:


 Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                               2
                                                                                                                                                     page ___ of __2
              Case 23-51317-pwb                             Doc 14      Filed 02/22/23 Entered 02/22/23 20:25:06                          Desc Main
                                                                       Document     Page 10 of 39
  Fill in this information to identify your case:

  Debtor 1           David Dunsmore Anderson
                     First Name                                Last Name
                                         Middle Name

  Debtor 2
  (Spouse, if filing)      First Name
                                              Middle Name
                                                                    Last Name



  United States Bankruptcy Court for the: Northern District of Georgia

  Case number 23-51317-pwb                                                                                                                         Check if this is
  (if know)                                                                                                                                        an amended
                                                                                                                                                   filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:       List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A           Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of          Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not           collateral that   portion If any
                                                                                                              deduct the value   supports this
                                                                                                              of collateral.     claim
 2.1                                                             Describe the property that secures the claim: $ 11,000.00       $ 15,000.00       $ 0.00

                                                               2016 Ford Edge - $15,000.00
       Barry L. Anderson
       Creditor’s Name
       1841 Wildwood Place
       Number        Street
                                                              As of the date you file, the claim is: Check all
       Atlanta GA             30324                           that apply.
       City       State       ZIP Code
                                                                 Contingent
       Who owes the debt? Check one.                             Unliquidated
         Debtor 1 only                                           Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                           Nature of lien. Check all that apply.
         At least one of the debtors and another                 An agreement you made (such as mortgage or
                                                                 secured car loan)
              Check if this claim relates to a                   Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                     Judgment lien from a lawsuit
                                                                 Other (including a right to offset)
       Date debt was incurred
                                                              Last 4 digits of account number




Official Form 106D                                              Schedule D: Creditors Who Have Claims Secured by Property                                   page 1 of 2
                David Dunsmore Anderson
Debtor         Case    23-51317-pwb
                First Name        Middle Name           Doc 14
                                                Last Name           Filed 02/22/23 Entered 02/22/23Case
                                                                                                    20:25:06          Desc
                                                                                                        number(if known)     Main
                                                                                                                         23-51317-pwb
                                                                   Document     Page 11 of 39
 2.2                                                          Describe the property that secures the claim: $ 1,500.00            $ 3,500.00   $ 0.00

                                                             2010 Ford Ranger - $3,500.00
        Barry L. Anderson
        Creditor’s Name
        1841 Wildwood Place
        Number       Street
                                                            As of the date you file, the claim is: Check all
        Atlanta GA            30324                         that apply.
        City       State      ZIP Code
                                                               Contingent
        Who owes the debt? Check one.                          Unliquidated
          Debtor 1 only                                        Disputed
          Debtor 2 only
          Debtor 1 and Debtor 2 only                        Nature of lien. Check all that apply.
          At least one of the debtors and another              An agreement you made (such as mortgage or
                                                               secured car loan)
               Check if this claim relates to a                Statutory lien (such as tax lien, mechanic’s lien)
               community debt                                  Judgment lien from a lawsuit
                                                               Other (including a right to offset)
        Date debt was incurred
                                                            Last 4 digits of account number

       Add the dollar value of your entries in Column A on this page. Write that number here:                       $ 12,500.00


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                           Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 2
             Case 23-51317-pwb                            Doc 14      Filed 02/22/23 Entered 02/22/23 20:25:06                              Desc Main
                                                                     Document     Page 12 of 39
   Fill in this information to identify your case:

                   David Dunsmore Anderson
   Debtor 1
                   First Name                                 Last Name
                                           Middle Name

   Debtor 2
   (Spouse, if filing)     First Name
                                                Middle Name
                                                                   Last Name



   United States Bankruptcy Court for the: Northern District of Georgia

   Case number 23-51317-pwb                                                                                                                          Check if this is
   (if know)                                                                                                                                         an amended
                                                                                                                                                     filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.

   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                                     Last 4 digits of account number
         AP Midtown Promenade LP                                                                                                                        $ 667,402.04
         Nonpriority Creditor's Name
                                                                          When was the debt incurred? 04/16/2022

         1616 Camden Rd.                                                  As of the date you file, the claim is: Check all that apply.
         Number        Street                                                Contingent
         Suite 210                                                           Unliquidated
                                                                             Disputed
         Charlotte NC           28203
         City          State    ZIP Code                                  Type of NONPRIORITY unsecured claim:
         Who owes the debt? Check one.                                      Student loans
             Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                             that you did not report as priority claims
             Debtor 2 only
                                                                             Debts to pension or profit-sharing plans, and other similar
             Debtor 1 and Debtor 2 only                                      debts
             At least one of the debtors and another                        Other. Specify
             Check if this claim relates to a community
             debt
         Is the claim subject to offset?
             No
             Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 1 of 7
              David Dunsmore Anderson
 Debtor      Case    23-51317-pwb
                 First Name           Middle Name            Doc 14
                                                     Last Name         Filed 02/22/23 Entered 02/22/23Case
                                                                                                       20:25:06          Desc
                                                                                                           number(if known)     Main
                                                                                                                            23-51317-pwb
                                                                      Document     Page 13 of 39
  4.2                                                                  Last 4 digits of account number 4472
          BANK OF MISSOURI/TOTAL V                                                                                                       $ 347.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred? 07/29/2022

          PO BOX 84930                                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                            Contingent
          Sioux Falls SD              57118                               Unliquidated
          City                State   ZIP Code
                                                                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another
                                                                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.3                                                                  Last 4 digits of account number 5823
          Capital One                                                                                                                    $ 325.93
          Nonpriority Creditor's Name
                                                                       When was the debt incurred? 11/11/2020

          P.O Box 31293                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                            Contingent
          Salt Lake City UT               84131                           Unliquidated
          City                   State    ZIP Code
                                                                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another
                                                                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.4                                                                  Last 4 digits of account number 4154178041911421
          Capital One Spark Business Card                                                                                                $ 647.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred? 04/01/2022

          P. O. Box 105474                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                            Contingent
          Atlanta GA             30348                                    Unliquidated
          City        State      ZIP Code
                                                                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another
                                                                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                      page 2 of 7
              David Dunsmore Anderson
 Debtor      Case    23-51317-pwb
                 First Name           Middle Name           Doc 14
                                                    Last Name         Filed 02/22/23 Entered 02/22/23Case
                                                                                                      20:25:06          Desc
                                                                                                          number(if known)     Main
                                                                                                                           23-51317-pwb
                                                                     Document     Page 14 of 39
  4.5                                                                 Last 4 digits of account number 4577
          Care Credit                                                                                                                   $ 1,292.18
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 06/06/2022

          SYNCB/CARE CREDIT                                           As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          C/O P.O. BOX 965036                                            Unliquidated
                                                                         Disputed
          Orlando FL              .
          City         State      ZIP Code                            Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                 Student loans
              Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                 debts
              At least one of the debtors and another                   Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.6                                                                 Last 4 digits of account number 0218
          Credit One Bank                                                                                                                $ 655.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 03/22/2022

          Credit One Bank                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          PO BOX 98872                                                   Unliquidated
                                                                         Disputed
          Las Vegas NV                89193
          City                State   ZIP Code                        Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                 Student loans
              Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                 debts
              At least one of the debtors and another                   Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.7                                                                 Last 4 digits of account number 2070
          Emory Decatur Hospital                                                                                                        $ 1,498.13
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 09/01/2022

          P.O Box 100062                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Atlanta GA             30348-0062                              Unliquidated
          City        State      ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                       page 3 of 7
              David Dunsmore Anderson
 Debtor      Case    23-51317-pwb
                 First Name         Middle Name           Doc 14
                                                  Last Name         Filed 02/22/23 Entered 02/22/23Case
                                                                                                    20:25:06          Desc
                                                                                                        number(if known)     Main
                                                                                                                         23-51317-pwb
                                                                   Document     Page 15 of 39
  4.8                                                               Last 4 digits of account number 5275
          FNB Omaha                                                                                                                     $ 323.40
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 06/01/2019

          P.O Box 3412                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Omaha NE               68197                                 Unliquidated
          City        State      ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.9                                                               Last 4 digits of account number
          HSI Financial Services                                                                                                        $ 766.18
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          1000 Circle 75 PKWY                                       As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Suite 600                                                    Unliquidated
                                                                       Disputed
          Atlanta GA             30339
          City        State      ZIP Code                           Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                               Student loans
              Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              Debtor 2 only
                                                                       Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                               debts
              At least one of the debtors and another                 Other. Specify Medical Services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.10 Jeff Merback                                                 Last 4 digits of account number
                                                                                                                                      $ 50,000.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          827 Highland Terrace NE                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Atlanta GA             30306                                 Unliquidated
          City        State      ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Money Loaned
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                        page 4 of 7
              David Dunsmore Anderson
 Debtor      Case    23-51317-pwb
                 First Name           Middle Name           Doc 14
                                                    Last Name         Filed 02/22/23 Entered 02/22/23Case
                                                                                                      20:25:06          Desc
                                                                                                          number(if known)     Main
                                                                                                                           23-51317-pwb
                                                                     Document     Page 16 of 39
  4.11 Piedmont Urgent Care                                           Last 4 digits of account number
                                                                                                                                             $ 52.96
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          P.O. Box 100062                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Atlanta GA             30348                                   Unliquidated
          City        State      ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.12 Small Business Administration                                  Last 4 digits of account number
                                                                                                                                        $ 150,000.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          P. O. Box 3918                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Portland OR             97208                                  Unliquidated
          City          State     ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.13 SYNCB/AMAZON PLCC                                              Last 4 digits of account number 6121
                                                                                                                                           $ 655.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 11/11/2020

          PO BOX 965015                                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          ORLANDO FL                   32896                             Unliquidated
          City                State    ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another
                                                                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                          page 5 of 7
              David Dunsmore Anderson
 Debtor      Case    23-51317-pwb
                 First Name           Middle Name             Doc 14
                                                      Last Name         Filed 02/22/23 Entered 02/22/23Case
                                                                                                        20:25:06          Desc
                                                                                                            number(if known)     Main
                                                                                                                             23-51317-pwb
                                                                       Document     Page 17 of 39
  4.14 SYNCB/PPC                                                        Last 4 digits of account number 9105
                                                                                                                                                $ 285.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 06/02/2022

          P.O.BOX 965005                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                             Contingent
          Orlando FL              32896                                    Unliquidated
          City         State      ZIP Code
                                                                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.15 SYNCB/ SLEEP NUMBER                                              Last 4 digits of account number 8861
                                                                                                                                                $ 479.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 11/29/2022

          SYNCB/SLEEP NUMBER                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                             Contingent
          C/O PO BOX 965036                                                Unliquidated
                                                                           Disputed
          ORLANDO FL                   32896
          City                State    ZIP Code                         Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.16 THE BANK OF MISSOURI/ MI                                         Last 4 digits of account number 1015
                                                                                                                                                $ 719.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 12/28/2021

          PO BOX 4499                                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                             Contingent
          BEAVERTON, OR                    97076                           Unliquidated
          City                   State     ZIP Code
                                                                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
     collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
     creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                            page 6 of 7
                David Dunsmore Anderson
 Debtor        Case    23-51317-pwb
               First Name           Middle Name           Doc 14
                                                  Last Name         Filed 02/22/23 Entered 02/22/23Case
                                                                                                    20:25:06          Desc
                                                                                                        number(if known)     Main
                                                                                                                         23-51317-pwb
                                                                   Document     Page 18 of 39

        Capital One                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                             Line 4.4     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        Attn: General Correspondence
        Number     Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
        P. O. Box 30285                                                      Claims
                                                                             Last 4 digits of account number
        Salt Lake City UT             84130
        City                State     ZIP Code


        Knox Withers                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                             Line 4.1     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        Arnall Golden Gregory LLP
        Number     Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
        171 17th Street, NW, Suite 2100                                      Claims
                                                                             Last 4 digits of account number
        Atlanta GA          30363
        City     State      ZIP Code


        Small Business Administration                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                             Line 4.12 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        233 Peachtree Street, NE
        Number     Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
        Suite 300                                                            Claims
                                                                             Last 4 digits of account number
        Atlanta GA          30303
        City     State      ZIP Code

   Part 4:       Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                              Total claim

   Total claims        6a. Domestic support obligations                                            6a.   $ 0.00
   from Part 1
                       6b. Taxes and certain other debts you owe the                               6b.   $ 0.00
                       government
                       6c. Claims for death or personal injury while you were                      6c.   $ 0.00
                           intoxicated
                       6d. Other. Add all other priority unsecured claims. Write that              6d.   $ 0.00
                           amount here.
                       6e. Total. Add lines 6a through 6d.                                         6e.
                                                                                                            $ 0.00



                                                                                                              Total claim

   Total claims        6f. Student loans                                                           6f.   $ 0.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                    6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                     6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that           6i.   $ 875,447.82
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                         6j.
                                                                                                            $ 875,447.82




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 7 of 7
            Case 23-51317-pwb                           Doc 14       Filed 02/22/23 Entered 02/22/23 20:25:06                           Desc Main
                                                                    Document     Page 19 of 39
  Fill in this information to identify your case:

  Debtor 1
                     David Dunsmore Anderson
                      First Name                                   Last Name
                                              Middle Name

  Debtor 2
  (Spouse, if filing)       First Name
                                                   Middle Name
                                                                         Last Name



  United States Bankruptcy Court for the: Northern District of Georgia

  Case number 23-51317-pwb                                                                                                                   Check if this is
  (if know)                                                                                                                                  an amended
                                                                                                                                             filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On
the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease                             State what the contract or lease is for

 2.1                                                                                          2509 Lawrenceville Highway Apt. 2 Decatur GA 3033 Lessee
          The Pines at Lawrenceville
          Name
          2511 Lawrenceville Highway
          Street
          Decatur GA               30033
          City         State       ZIP Code




Official Form 106G                                               Schedule G: Executory Contracts and Unexpired Leases                                page 1 of 1
               Case 23-51317-pwb                    Doc 14      Filed 02/22/23 Entered 02/22/23 20:25:06                              Desc Main
                                                               Document     Page 20 of 39
Fill in this information to identify your case:

Debtor 1
                 David Dunsmore Anderson
                  First Name                            Last Name
                                     Middle Name

Debtor 2
(Spouse, if filing)     First Name
                                          Middle Name
                                                             Last Name



United States Bankruptcy Court for the: Northern District of Georgia

Case number 23-51317-pwb                                                                                                                      Check if this is
(if know)                                                                                                                                     an amended
                                                                                                                                              filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
    California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
    line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
    Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
    out Column 2.


       Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt
                                                                                                 Check all schedules that apply:
3.1     Movie Titles, Inc. d/b/a The Highlander                                                      Schedule D, line
        Name                                                                                         Schedule E/F, line 4.1
        c/o Darlene Copeland-Yale 1708 Jobeth Avenue                                                 Schedule G, line
        Street
        Atlanta                                                     GA       30316
        City                                                        State    ZIP Code

3.2     Darlene Copeland-Yale                                                                        Schedule D, line
        Name                                                                                         Schedule E/F, line 4.1
        1708 Jobeth Avenue                                                                           Schedule G, line
        Street
        Atlanta                                                     GA       30316
        City                                                        State    ZIP Code

3.3     Darby Yale                                                                                   Schedule D, line
        Name                                                                                         Schedule E/F, line 4.1
        1708 Jobeth Avenue                                                                           Schedule G, line
        Street
        Atlanta                                                     GA       30316
        City                                                        State    ZIP Code

3.4     Darlene Copeland-Yale                                                                        Schedule D, line
        Name                                                                                         Schedule E/F, line 4.12
        1708 Jobeth Avenue                                                                           Schedule G, line
        Street
        Atlanta                                                     GA       30316
        City                                                        State    ZIP Code


Official Form 106H                                                          Schedule H: Your Codebtors                                               page 1 of 2
                 David Dunsmore Anderson
Debtor          Case    23-51317-pwb
                First Name   Middle Name           Doc 14
                                           Last Name         Filed 02/22/23 Entered 02/22/23Case
                                                                                             20:25:06          Desc
                                                                                                 number(if known)     Main
                                                                                                                  23-51317-pwb
                                                            Document     Page 21 of 39
3.5      Movie Titles, Inc. d/b/a The Highlander                                              Schedule D, line
         Name                                                                                 Schedule E/F, line 4.12
         c/o Darlene Copeland-Yale 1708 Jobeth Avenue                                         Schedule G, line
         Street
         Atlanta                                             GA       30316
         City                                                State    ZIP Code
3.6      Darby Yale                                                                           Schedule D, line
         Name                                                                                 Schedule E/F, line 4.12
         1708 Jobeth Avenue                                                                   Schedule G, line
         Street
         Atlanta                                             GA       30316
         City                                                State    ZIP Code




Official Form 106H                                                   Schedule H: Your Codebtors                            page 2 of 2
            Case 23-51317-pwb                  Doc 14        Filed 02/22/23 Entered 02/22/23 20:25:06                               Desc Main
                                                            Document     Page 22 of 39
 Fill in this information to identify your case:

                      David Dunsmore Anderson
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________
                                          Northern District of GeorgiaDistrict
                                                                                    tate)
 Case number            23-51317-pwb
                     ___________________________________________                                        Check if this is:
  (If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter 13
                                                                                                           income as of the following date:
                                                                                                           ________________
Official Form 106I                                                                                         MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                             Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                           ✔ Employed
    information about additional          Employment status                                                                Employed
    employers.                                                             Not employed                                 
                                                                                                                         ✔   Not employed
    Include part-time, seasonal, or
    self-employed work.                                                    Kitchen Manager
                                          Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                           The Stratford LLC
                                         Employer’s name                __________________________________            __________________________________


                                         Employer’s address                17 N. Avondale Plaza
                                                                        _______________________________________     ________________________________________
                                                                         Number Street                               Number    Street

                                                                        _______________________________________     ________________________________________

                                                                        _______________________________________     ________________________________________

                                                                           Avondale Estates, GA 30002
                                                                        _______________________________________     ________________________________________
                                                                         City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________
                                                                   4 months                                           ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1       For Debtor 2 or
                                                                                                                      non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.            2.       4,333.33                     0.00
                                                                                                  $___________           $____________

 3. Estimate and list monthly overtime pay.                                                 3.   + $___________
                                                                                                           0.00      +            0.00
                                                                                                                         $____________


 4. Calculate gross income. Add line 2 + line 3.                                            4.       4,333.33
                                                                                                  $__________                     0.00
                                                                                                                         $____________




Official Form 106I                                                  Schedule I: Your Income                                                      page 1
           Case 23-51317-pwb Doc 14
             David Dunsmore Anderson
                                                                           Filed 02/22/23 Entered 02/22/23 20:25:06 Desc Main
Debtor 1         _______________________________________________________                                                 23-51317-pwb
                 First Name         Middle Name               Last Name
                                                                          Document     Page 23 of Case
                                                                                                   39 number (if known)_____________________________________
                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.        4,333.33
                                                                                                                          $___________                    0.00
                                                                                                                                                  $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.          727.81
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
                                                                                                                                0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +            0.00
                                                                                                                                                  $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.          727.81
                                                                                                                         $____________                     0.00
                                                                                                                                                  $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        3,605.53
                                                                                                                         $____________                     0.00
                                                                                                                                                  $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                       0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                     0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            3,605.53
                                                                                                                         $___________     +               0.00
                                                                                                                                                  $_____________    =      3,605.53
                                                                                                                                                                        $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                           3,605.53
                                                                                                                                                                        $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                        12.
                                                                                                                                                                        Combined
                                                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                page 2
             Case 23-51317-pwb                   Doc 14        Filed 02/22/23 Entered 02/22/23 20:25:06                                        Desc Main
                                                              Document     Page 24 of 39
  Fill in this information to identify your case:

                     David Dunsmore Anderson
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          Northern District of Georgia
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                     expenses as of the following date:
                                                                                      (State)
                       23-51317-pwb                                                                               ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                   No                                           Dependent’s relationship to              Dependent’s    Does dependent live
   Do not list Debtor 1 and                 ✔ Yes. Fill out this information for
                                                                                          Debtor 1 or Debtor 2                     age            with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                             Daughter                                 1              No
                                                                                           _________________________                ________
   names.                                                                                                                                          
                                                                                                                                                   ✔ Yes

                                                                                           _________________________                ________        No
                                                                                                                                                    Yes
                                                                                           _________________________                ________        No
                                                                                                                                                    Yes
                                                                                           _________________________                ________        No
                                                                                                                                                    Yes
                                                                                           _________________________                ________        No
                                                                                                                                                    Yes
3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  1,309.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                         0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                       144.43
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                      0.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
              Case 23-51317-pwb                  Doc 14           Filed 02/22/23 Entered 02/22/23 20:25:06                      Desc Main
                                                                 Document     Page 25 of 39
                    David Dunsmore Anderson                                                                           23-51317-pwb
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                         0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                       71.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                         0.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                       91.00
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                         0.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                      700.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                         0.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                      150.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                       80.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                       94.58
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                      150.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                      100.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                         0.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.   $_____________________
                                                                                                                                         0.00
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                         0.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                      241.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                        16.
                                                                                                                                        0.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                         0.00
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                         0.00
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                         0.00
        17d. Other. Specify:_______________________________________________                                      17d.   $_____________________
                                                                                                                                         0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                    0.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
             Case 23-51317-pwb                 Doc 14           Filed 02/22/23 Entered 02/22/23 20:25:06                          Desc Main
                                                               Document     Page 26 of 39
                   David Dunsmore Anderson                                                                              23-51317-pwb
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 3,131.01
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 3,131.01
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       3,605.53
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 3,131.01
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                    474.52
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
               Case 23-51317-pwb                   Doc 14     Filed 02/22/23 Entered 02/22/23 20:25:06                                Desc Main
                                                             Document     Page 27 of 39
Fill in this information to identify your case:

Debtor 1           David Dunsmore Anderson
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Georgia District of __________
                                                                                (State)
Case number         23-51317-pwb
                    ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ David Dunsmore Anderson
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              02/22/2023
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
            Case 23-51317-pwb                          Doc 14        Filed 02/22/23 Entered 02/22/23 20:25:06                                        Desc Main
                                                                    Document     Page 28 of 39

 Fill in this information to identify your case:

                    David Dunsmore Anderson
 Debtor 1
                    First Name         Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name        Middle Name           Last Name



 United States Bankruptcy Court for the: Northern District of Georgia

 Case number        23-51317-pwb
 (if know)                                                                                                                                                      Check if this is
                                                                                                                                                                an amended
                                                                                                                                                                filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                           Debtor 1                                               Debtor 2

                                                                           Sources of income         Gross income                 Sources of income          Gross income
                                                                           Check all that apply      (before deductions           Check all that apply       (before deductions
                                                                                                     and exclusions)                                         and exclusions)

         From January 1 of current year until the date
         you filed for bankruptcy:                                            Wages,               $ 1,659.00                        Wages,              $
                                                                              commissions,                                           commissions,
                                                                              bonuses, tips                                          bonuses, tips
                                                                              Operating a business                                   Operating a business


         For last calendar year:
                                                                              Wages,               $ 52,000.00                       Wages,              $
         (January 1 to December 31, 2022                                      commissions,                                           commissions,
                                                                              bonuses, tips                                          bonuses, tips
                                                                              Operating a business                                   Operating a business


         For the calendar year before that:
                                                                              Wages,               $ 16,765.00                       Wages,              $
         (January 1 to December 31, 2021                                      commissions,                                           commissions,
                                                                              bonuses, tips                                          bonuses, tips
                                                                              Operating a business                                   Operating a business



Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1 of 6
               Case 23-51317-pwb                        Doc 14       Filed 02/22/23 Entered 02/22/23 20:25:06 Desc Main
Debtor          David Dunsmore Anderson
               First Name     Middle Name       Last Name
                                                                    Document     Page 29 of 39     Case number(if known) 23-51317-pwb



5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
   unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
   and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
   Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.
                                         Debtor 1                                                                  Debtor 2

                                         Sources of income                     Gross income from each              Sources of income   Gross income from each
                                         Describe below.                       source                              Describe below.     source
                                                                               (before deductions and                                  (before deductions and
                                                                               exclusions)                                             exclusions)
  From January 1 of
  current year until the                                                        $
  date you filed for
  bankruptcy:                                                                   $
  For last calendar year:
                                            Redeemed Bond                       $ 3,856.32
  (January 1 to December
  31, 2022
  For the calendar year
  before that:                              Unemployment                        $ 15,548.00

  (January 1 to December
  31, 2021


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.



Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                     page 2 of 6
              Case 23-51317-pwb                      Doc 14         Filed 02/22/23 Entered 02/22/23 20:25:06 Desc Main
Debtor          David Dunsmore Anderson
               First Name     Middle Name    Last Name
                                                                   Document     Page 30 of 39     Case number(if known) 23-51317-pwb




 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.
                                                              Nature of the case                      Court or agency                            Status of the
                                                                                                                                                 case

    Case title:                                                                                                                                      Pending
    AP Midtown Promenade, LP vs                               Complaint for breach of lease
                                                                                                     State Court of Dekalb County                    On appeal
    Movie Titles Inc, d/b/a The                               and guaranty
                                                                                                     Court Name
    Highlander, David D Anderson,                                                                                                                    Concluded
    Darlene Copeland , and Darby                                                                     556 N. McDonough St
    F. Yale                                                                                          Number     Street
    Case number: 22A03498                                                                            Decatur GA          30030
                                                                                                     City      State     ZIP Code


10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:        List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:        List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:        List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3 of 6
              Case 23-51317-pwb                           Doc 14       Filed 02/22/23 Entered 02/22/23 20:25:06 Desc Main
Debtor            David Dunsmore Anderson
                 First Name         Middle Name   Last Name
                                                                      Document     Page 31 of 39     Case number(if known) 23-51317-pwb



                                                                      Description and value of any property transferred              Date payment      Amount of
                                                                                                                                     or transfer was   payment
                                                                                                                                     made
                                                                                                                                     02/08/2023        $ 2,338.00
                                                                     $2,000 Retainer and $338 Filing Fee
          Lamberth, Cifelli, Ellis & Nason, P.A.                                                                                                       $
          Person Who Was Paid
          6000 Lake Forrest Drive, NW
          Number         Street
          Suite 435

          Atlanta GA              30328
          City         State      ZIP Code


          Email or website address
          Barry Anderson
          Person Who Made the Payment, if Not You



17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:          Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:          Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 4 of 6
                Case 23-51317-pwb                        Doc 14       Filed 02/22/23 Entered 02/22/23 20:25:06 Desc Main
Debtor           David Dunsmore Anderson
                First Name         Middle Name   Last Name
                                                                     Document     Page 32 of 39     Case number(if known) 23-51317-pwb



    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:         Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

                                                                        Describe the nature of the business                         Employer Identification number
         Movie Titles Inc dba The Highlander                                                                                        Do not include Social Security number or
         Business Name                                                                                                              ITIN.
                                                                       Bar Restaruant
         931 Monroe Drive
         Number        Street                                                                                                       EIN: 5   8   –1   9   7   7   6   6   2
         C101                                                          Name of accountant or bookkeeper                             Dates business existed

                                                                       Kelley Hall                                                  From 02/20/2022 To 06/20/2022
         Atlanta GA             30308
         City       State       ZIP Code


28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 5 of 6
              Case 23-51317-pwb                        Doc 14       Filed 02/22/23 Entered 02/22/23 20:25:06 Desc Main
Debtor         David Dunsmore Anderson
              First Name         Middle Name   Last Name
                                                                   Document     Page 33 of 39     Case number(if known) 23-51317-pwb




 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ David Dunsmore Anderson
         Signature of Debtor 1                                                 Signature of Debtor 2

         Date 02/22/2023                                                       Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                 Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                             Declaration, and Signature (Official Form 119).




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6 of 6
              Case 23-51317-pwb                         Doc 14       Filed 02/22/23 Entered 02/22/23 20:25:06                        Desc Main
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  Fill in this information to identify your case:

                     David Dunsmore Anderson
   Debtor 1
                     First Name         Middle Name            Last Name

   Debtor 2
   (Spouse, if filing)   First Name       Middle Name            Last Name



   United States Bankruptcy Court for the: Northern District of Georgia

   Case number       23-51317-pwb
   (if known)
                                                                                                                                          Check if this is
                                                                                                                                          an amended
                                                                                                                                          filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                       12/15

If you are an individual filing under chapter 7, you must fill out this form if:
◾ creditors have claims secured by your property, or
◾ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

 Part 1:       List Your Creditors Who Have Secured Claims


 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
                                                                     What do you intend to do with the property     Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                           exempt on Schedule C?
   Creditor's                                                                        Surrender the property.                   No
   name:                 Barry L. Anderson
                                                                                     Retain the property and redeem it.        Yes
   Description of 2016 Ford Edge                                                     Retain the property and enter into a
   property
   securing debt:                                                                    Reaffirmation Agreement.
                                                                                     Retain the property and [explain]:



   Creditor's                                                                        Surrender the property.                   No
   name:                 Barry L. Anderson
                                                                                     Retain the property and redeem it.        Yes
   Description of 2010 Ford Ranger                                                   Retain the property and enter into a
   property
                                                                                     Reaffirmation Agreement.
   securing debt:
                                                                                     Retain the property and [explain]:




 Part 2:       List Your Unexpired Personal Property Leases


   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
   in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
   You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
      Describe your unexpired personal property leases Will the lease be assumed?




 Official Form 108                                             Statement of Intention for Individuals Filing Under Chapter 7                       page 1 of 2
            Case 23-51317-pwb           Doc 14       Filed 02/22/23 Entered 02/22/23 20:25:06 Desc Main
Debtor        David Dunsmore Anderson               Document     Page 35 of 39     Case number(if known) 23-51317-pwb



Part 3:      Sign Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.



     /s/ David Dunsmore Anderson
       Signature of Debtor 1                                                   Signature of Debtor 2


     Date 02/22/2023                                                         Date 02/22/2023
             MM/DD/YYYY                                                             MM/DD/YYYY




Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                          page 2 of 2
            Case 23-51317-pwb                     Doc 14         Filed 02/22/23 Entered 02/22/23 20:25:06                                  Desc Main
 Fill in this information to identify your case:
                                                                Document     Page 36 of 39
                                                                                                          Check one box only as directed in this form and in
                                                                                                          Form 122A-1Supp:
 Debtor 1         David  Dunsmore Anderson
                  __________________________________________________________________
                     First Name                Middle Name                  Last Name
                                                                                                          
                                                                                                          ✔   1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name                  Last Name                        2. The calculation to determine if a presumption of
                                                                                                                 abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: ____________
                                         Northern District   ofofGeorgia
                                                       District   _______________
                                                                                                                 Means Test Calculation (Official Form 122A–2).
 Case number        23-51317-pwb
                    ___________________________________________                                              3. The Means Test does not apply now because of
 (If known)
                                                                                                                 qualified military service but it could apply later.


                                                                                                           Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                 12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

        
        ✔     Married and your spouse is NOT filing with you. You and your spouse are:
              
              ✔     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                            Column A             Column B
                                                                                                            Debtor 1             Debtor 2 or
                                                                                                                                 non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                        $_________           $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                  $_________           $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                                $_________           $__________

   5. Net income from operating a business, profession,
                                                                           Debtor 1     Debtor 2
      or farm
      Gross receipts (before all deductions)                                  $______   $______
        Ordinary and necessary operating expenses                         – $______ – $______
                                                                                                   Copy
        Net monthly income from a business, profession, or farm               $______   $______ here         $_________           $__________

   6. Net income from rental and other real property                       Debtor 1     Debtor 2
      Gross receipts (before all deductions)                                  $______   $______
        Ordinary and necessary operating expenses                         – $______ – $______
                                                                                                   Copy
        Net monthly income from rental or other real property                 $______   $______ here         $_________           $__________
  7. Interest, dividends, and royalties                                                                       $_________           $__________



Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                      page 1
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Debtor 1           David  Dunsmore Anderson
                   _______________________________________________________                                                                          23-51317-pwb
                                                                                                                             Case number (if known)_____________________________________
                   First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                      $__________                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
            For you ..................................................................................   $______________
            For your spouse ..................................................................           $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                                                   $__________                  $___________
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
           ______________________________________                                                                                    $_________                   $___________
           ______________________________________                                                                                    $_________                   $___________
           Total amounts from separate pages, if any.                                                                            + $_________                  + $___________
   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                                            $_________
                                                                                                                                                           +      $___________
                                                                                                                                                                                      =   $__________
                                                                                                                                                                                          Total current
                                                                                                                                                                                          monthly income

   Part 2:           Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.       Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here       $__________

                  Multiply by 12 (the number of months in a year).                                                                                                                    x 12
       12b.       The result is your annual income for this part of the form.                                                                                                  12b.   $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household. ................................................................................................. 13.   $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


       14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.



       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                       Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                 Chapter 7 Statement of Your Current Monthly Income                                                                   page 2
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Debtor 1     David  Dunsmore Anderson
             _______________________________________________________                                                     23-51317-pwb
                                                                                                  Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


               /s/ David Dunsmore Anderson
                   __________________________________________________________                   ______________________________________
                   Signature of Debtor 1                                                         Signature of Debtor 2

                       02/22/2023
                  Date _________________                                                         Date _________________
                       MM / DD / YYYY                                                                 MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                   page 3
              Case 23-51317-pwb                    Doc 14         Filed 02/22/23 Entered 02/22/23 20:25:06                             Desc Main
    Fill in this information to identify your case:              Document     Page 39 of 39

    Debtor 1           David Dunsmore Anderson
                      __________________________________________________________________
                        First Name              Middle Name              Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name              Middle Name              Last Name


    United States Bankruptcy Court for the: Northern
                                            ______________________
                                                     District of Georgia District of __________

    Case number         23-51317-pwb
                        ___________________________________________
    (If known)

                                                                                                            Check if this is an amended filing

 Official Form 122A─1Supp
St a t e m e nt of Ex e m pt ion from Pre sum pt ion of Abuse U nde r § 7 0 7 (b)(2 )                                                                         12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this
is required by 11 U.S.C. § 707(b)(2)(C).


Pa rt 1 :        I de nt ify t he K ind of De bt s Y ou H a ve

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave on line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

     
     ✔
          No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
              this supplement with the signed Form 122A-1.
         Yes. Go to Part 2.

Pa rt 2 :        De t e rm ine Whe t he r M ilit a ry Se rvic e Provisions Apply t o Y ou


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
    No. Go to line 3.
    Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                  10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                   No. Go to line 3.
                   Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                        Then submit this supplement with the signed Form 122A-1.
3. Are you or have you been a Reservist or member of the National Guard?
           No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
                No. Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                    I was called to active duty after September 11, 2001, for at least           If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                           Form 22A-1. On the top of page 1 of Form 22A-1, check
                                                                                                  box 3, The Means Test does not apply now, and sign
                    I was called to active duty after September 11, 2001, for at least
                                                                                                  Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                                  Form 22A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                                  Official Form 22A-1 during the exclusion period. The
                    I am performing a homeland defense activity for at least 90 days.            exclusion period means the time you are on active duty
                                                                                                  or are performing a homeland defense activity, and for
                    I performed a homeland defense activity for at least 90 days,                540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days before
                                                                                                  If your exclusion period ends before your case is closed,
                     I file this bankruptcy case.
                                                                                                  you may have to file an amended form later.




Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                   page 1
